        Case 18-10958-elf         Doc 48    Filed 07/22/21 Entered 07/22/21 11:52:22      Desc Main
                                            Document      Page 1 of 2
                               UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re: Laura Paulette Hall-Carney
       Bankruptcy No. 18-10958-elf
       Adversary No.
       Chapter 13
                                                      Date: July 22, 2021

To: DWAYNE M. GRANNUM, Esq.
Law Office of Dwayne M. Grannum, LTD.
101 N. Easton Road
Suite 101
Glenside, PA 19095




                                     NOTICE OF INACCURATE FILING

                Re: Notice of Appearance and Request for Notice

The above pleading was filed in this office on 7/20/2021 . Please be advised that the following
document(s) filed contains a deficiency as set forth below:


                ()         Debtor's name does not match case number listed
                ()         Debtor's name and case number are missing
                ()         Wrong PDF document attached
                ()         PDF document not legible
                ()         Notice of Motion/Objection
                ()         Electronic Signature missing
                (x)        Other: should this be a withdrawal and entry of appearance

In order for this matter to proceed, please submit the above noted correction within fourteen (14) days
from the date of this notice. All replies with appropriate corrections should be submitted to the e-mail
address of qc@paeb.uscourts.gov . Otherwise, the matter will be referred to the Court.


                                                                   Timothy B. McGrath
                                                                   Clerk


                                                                   By: Virginia S. DeBuvitz
                                                                   Deputy Clerk


CM-ECF 14 day notice.frm
4/30/04
Case 18-10958-elf   Doc 48   Filed 07/22/21 Entered 07/22/21 11:52:22   Desc Main
                             Document      Page 2 of 2
